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                  EXHIBIT 19
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corporate direction. From 1985 until 1995, Marks led the groups at The TCW Group, Inc. that were
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responsible for investments in distressed debt, high yield bonds, and convertible securities. He was                                        Corp | LP, Minnesota Timberwolves and
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Investment Management for 16 years, where from 1978 to 1985 he was Vice President and senior                                                Miami, FL
portfolio manager in charge of convertible and high yield securities. Between 1969 and 1978, he was
                                                                                                                                            David Kelly
an equity research analyst and, subsequently, Citicorp’s Director of Research.
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Howard Marks holds a B.S.Ec. degree cum laude from the Wharton School of the University of                                                  New York City Metropolitan Area
Pennsylvania with a major in finance and an M.B.A. in accounting and marketing from the Booth School
                                                                                                                                            David McCormick
of Business of the University of Chicago, where he received the George Hay Brown Prize. He is a CFA®
                                                                                                                                            Chief Executive Officer at Bridgewater
charterholder. Marks is a member of the Investment Committees of the Metropolitan Museum of Art
                                                                                                                                            Associates
and the Edmond J. Safra Foundation; a Trustee and Vice Chairman of the Investment Committee at the
                                                                                                                                            Westport, CT
Metropolitan Museum; Chairman of the Board of Trustees of the Royal Drawing School; and an
Emeritus Trustee of the University of Pennsylvania (where from 2000 to 2010 he chaired the                                                  Larry Fink
Investment Board).                                                                                                                          Chairman and CEO at BlackRock
                                                                                                                                            New York, NY

                                                                                                                                            Barbara Corcoran
Articles by Howard                                                                                                                          Shark on ABC's Shark Tank, Public
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                                                                                                                                            Founder of The Corcoran Group
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